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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


     CRISTA MARIE HAZELY and
     KATHRYN MCCARTHY, on behalf                             Case No. 6:21-CV-317
     of themselves and all others similarly
     situated,                                               CLASS ACTION COMPLAINT

                             Plaintiffs,                     JURY TRIAL DEMANDED
               v.

     GERBER PRODUCTS CO.,

                             Defendant.



                                    CLASS ACTION COMPLAINT

          Plaintiffs Crista Marie Hazely and Kathryn McCarthy (“Plaintiffs”), by and through their

counsel, on their own behalf and on behalf of all others similarly situated, bring this Class Action

Complaint against Defendant Gerber Products Company (“Gerber” or “Defendant”) and allege the

following facts in support of their claims against Defendant based upon personal knowledge,

where applicable, information and belief, and the investigation of counsel:

I.        INTRODUCTION

          1.        Parents and other caregivers, including Plaintiffs, reasonably believe that the baby

food they purchase for their babies will be healthy, nutritious, and non-toxic, and that is what

Defendant wanted them to think. Alarmingly, parents and Plaintiffs were wrong. A recent report

by the U.S. House of Representatives’ Subcommittee on Economic and Consumer Policy,

Committee on Oversight and Reform (“House Subcommittee”) reveals that certain brands of

commercial baby food – including Gerber products made with ingredients such as rice flour, sweet

potatoes, certain juices, certain juice concentrates, and carrots, among other ingredients (the



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“Tainted Baby Foods”) – are tainted with significant and dangerous levels of toxic heavy metals,

including arsenic, lead, cadmium, and mercury. See Baby Foods Are Tainted with Dangerous

Levels of Arsenic, Lead, Cadmium and Mercury, Staff Report Dated February 4, 2021,

Subcommittee on Economic and Consumer Policy Committee on Oversight and Reform, U.S.

House of Representatives (the “Congressional Report”). 1 Exposure to toxic heavy metals causes

permanent decreases in IQ and endangers neurological development and long-term brain function,

among numerous other deleterious alarming conditions and problems.

         2.    Plaintiffs bring this class action against Defendant for deceptive business practices,

including misrepresentations and omissions, regarding the presence of dangerous levels of toxic

heavy metals and other contaminants contained within their Gerber Tainted Baby Foods, including

those that Plaintiffs purchased. Plaintiffs seek injunctive and monetary relief on behalf of the

proposed Class including (i) requiring full disclosure of all such substances and ingredients in

Defendant’s marketing, advertising, and labeling; (ii) requiring testing of all ingredients and final

products for such substances; and (iii) restoring monies to the members of the proposed Class.

         3.    No reasonable consumer purchasing baby foods or seeing Defendant’s

representations in advertising would expect the baby foods to contain dangerous levels of heavy

metals or other undesirable toxins or contaminants. Furthermore, reasonable consumers, like

Plaintiffs, would consider the inclusion of dangerous levels of heavy metals or other undesirable

toxins or contaminants a material fact when considering what baby food to purchase.

         4.    Defendant intended for consumers to rely on its representations, and reasonable

consumers did in fact so rely. However, Defendant’s business practices, representations and

omissions were deceptive, misleading, unfair, and/or false because, among other things, the


1
 Available at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2021-02-
04%20ECP%20Baby%20Food%20Staff%20Report.pdf (last accessed February 16, 2021).

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Tainted Baby Foods contained undisclosed dangerous levels of toxic heavy metals or other

undesirable toxins or contaminants.

       5.      Plaintiffs bring this proposed consumer class action individually and on behalf of

all other members of the Class (as defined herein), who, from the applicable limitations period up

to and including the present, purchased for personal/household use and not resale any of

Defendant’s Tainted Baby Foods.        Through this action, Plaintiffs assert claims for unjust

enrichment, and violations of the Pennsylvania Unfair Trade Practices and Consumer Protection

Law, 73 PS § 201 et seq., and the Florida Deceptive and Unfair Trade Practices Act, §501.201 et

seq. seeking monetary damages, injunctive relief, and all other relief as authorized in equity or by

law.

                                              Parties

Plaintiffs

       6.      Plaintiff Crista Marie Hazely is a citizen and resident of the State of Florida,

residing in Deltona, Florida in Volusia County. During the applicable statute of limitations period,

Plaintiff purchased Tainted Baby Foods that were manufactured and produced by Defendant that

have been found to contain dangerous levels of toxic heavy metals, including Gerber Sweet Potato

(Sitter 2nd Foods).

       7.      Plaintiff Kathryn McCarthy is a citizen and resident of the State of Pennsylvania,

residing in Export, Pennsylvania. During the applicable statute of limitations period, Plaintiff

purchased Tainted Baby Foods that were manufactured and produced by Defendant that have been

found to contain dangerous levels of toxic heavy metals, including Gerber Pasta Pick-Ups Chicken

& Carrot Ravioli.




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Defendant Gerber

         8.    Defendant Gerber is a Michigan corporation with its headquarters located in

Arlington, Virginia. Defendant is a citizen of the State of Virginia.

         9.    Defendant packages, labels, markets, advertises, formulates, manufactures,

distributes, and sells its Tainted Baby Foods throughout the United States, including Pennsylvania

and Florida.

         10.   Defendant’s logo is the iconic “Gerber Baby” featured on every jar. The Gerber

Baby is intended to and does convey to consumers that Gerber is a trusted source of healthy foods

for their babies.   This symbol of health and safety in its baby foods has been Gerber’s

representation to consumers of its trustworthiness for decades. As Gerber states on its website

regarding the sketch that became the Gerber Baby: “The image of this happy, healthy baby was

soon to become the face that launched a brand, a face recognized and loved across the globe.” 2

The website continues: “Indeed, the illustration became so popular that Gerber adopted it as its

official trademark in 1931. Since then, the Gerber Baby has appeared on all Gerber packaging and

in every Gerber advertisement.”3 In fact, Gerber states on its website that the Gerber Baby’s

“sparkling eyes and adorable, curious baby face still personify the Gerber brand, representing

Gerber’s commitment to happy, healthy babies all over the world.”4

         11.   On its website, Gerber touts its “Commitment to Quality,” stating “Good enough is

never enough”: “We meet the standards of the FDA, but we don’t stop there. We go further. We

have among the strictest standards in the world. From farm to highchair, we go through over 100

quality checks for every jar.”5      Moreover, Defendant touts its “Commitment to Safety,”


2
  https://www.gerber.com/meet-the-gerber-baby (last accessed February 16, 2021).
3
  Id.
4
  Id.
5
  https://www.gerber.com/commitment-to-quality (last accessed February 16, 2021).

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representing: “Our team of experts are constantly looking at new ways of growing, testing, and

making food that’s healthy for baby and the environment.” 6 The website further states: “Healthy

for Baby” and represents: “The health and safety of your little one has been and will always be our

highest priority. We’re a leader in infant nutrition, not because we grow food that will simply feed

your little one, but because we know what nourishment your little ones needs [sic].”7

         12.    Based on the testing provided to Congress (which did not encompass all of the

ingredients used by Defendant), Defendant’s tainted ingredients include rice flour, sweet potatoes,

certain juices, certain juice concentrates, and carrots. 8 The Congressional Report concludes that

all or a large portion of the products made with such ingredients contain dangerous levels of toxic

heavy metals.

                                      Jurisdiction and Venue

         13.    This Court has jurisdiction over this action pursuant to the Class Action Fairness

Act of 2005 (“CAFA”), 28 U.S.C. §1332(d)(2), because at least one Class Member is of diverse

state citizenship from Defendant, there are more than 100 Class Members, and the aggregate

amount in controversy exceeds $5 million, exclusive of interest and costs.

         14.    The Middle District of Florida has personal jurisdiction over Defendant as Plaintiff

Hazely resides in and purchased Defendant’s Tainted Baby Foods in this District and Defendant

conducts substantial business in this District.

         15.    Venue is proper in this District under 28 U.S.C. §1391(b) because Plaintiff Hazely

resides in this District and because a substantial part of the events, misrepresentations and/or


6
  Id.
7
  Id.
8
  Gerber, Gerber Products Company Test Results (Dec. 9, 2019 (online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf)) (last accessed
February 16, 2021) (noting these ingredients, including apple juice concentrate, grape juice white
concentrate and pear juice concentrate).

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omissions giving rise to the conduct alleged in this Complaint occurred in and were directed to

this District.

II.      FACTUAL ALLEGATIONS

      Congressional Investigation Finds Dangerous Levels of Heavy Metals in Baby Foods

         16.     On February 4, 2021, the House Subcommittee issued its Congressional Report

detailing its findings that heavy metals, including arsenic, cadmium, lead, and mercury (“Heavy

Metals”), were present in dangerously “significant levels” in numerous commercial baby food

products.

         17.     The Food and Drug Administration (the “FDA”) and the World Health

Organization (“WHO”) have declared Heavy Metals dangerous to human health, particularly to

babies and children, who are most vulnerable to their neurotoxic effects. Even low levels of

exposure can cause serious and often irreversible damage to brain development.                See

Congressional Report at 2. In fact, children’s exposure to toxic heavy metals causes, among other

things, permanent decreases in IQ, diminished future economic productivity, and increased risk of

future criminal and antisocial behavior.9 See id. at 9. The FDA cautions that infants and children

are at the greatest risk of harm from toxic heavy metal exposure. 10

         18.     On November 6, 2019, following reports alleging high levels of toxic heavy metals

in baby foods, the House Subcommittee requested internal documents and test results from seven

of the largest manufacturers of baby food in the United States, including both makers of organic


9
  Miguel Rodriguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure
with Neurodevelopment and Behavioral Disorders in Children: A Systematic Review and Meta-
Analysis (April 9, 2013) (available at
www.sciencedirect.com/science/article/abs/pii/S0048969713003409?via%3Dihub (last accessed
February 16, 2021).
10
   Food and Drug Administration, Metals and Your Food (available at
www.fda.gov/food/chemicals-metals-pesticides-food/metals-and-your-food (last accessed
February 16, 2021).

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and conventional products. See id. at 2. One of those companies was Defendant, which sells

Gerber baby food products. See id.

          19.   Defendant responded to the House Subcommittee’s requests and produced its

internal testing policies, test results for ingredients and/or finished products, and documentation

about what it did with ingredients and/or finished products that exceeded its internal testing limits.

See id.

          20.   The FDA and other organizations have set rules and/or issued guidelines and

recommendations as to the maximum allowable or advisable and safe levels in various different

types of products of inorganic arsenic, lead, cadmium and mercury. See generally id. at Point II.

In many instances, the test results of Defendant’s baby foods and their ingredients eclipse those

levels for inorganic arsenic, lead, cadmium and mercury. See id. at Findings, at 2-5.

          Arsenic

          21.   As per the Congressional Report, arsenic is ranked as number one for “substances

present in the environment that pose the most significant potential threat to human health,

according to the Department of Health and Human Services’ Agency for Toxic Substances and

Disease Registry (ATSDR).” Id. at 10. Arsenic exposure has severe health risks, including

damage to the central nervous system and cognitive development in children. See id. Full Scale

IQ is severely negatively affected in children for verbal and performance domains and memory.

See id. One study concluded that 5 ppb of arsenic in drinking water caused children to have

significant reductions in Full Scale IQ and other related scores. See id.

          22.   The Congressional Report further states, “There is no established safe level of

inorganic arsenic consumption for babies.” Id. at 13. While certain organizations such as Healthy

Babies Bright Futures contend that there should be a goal of no measurable inorganic arsenic in

baby food, Consumer Reports suggests it should be no more than 3 ppb. See id. For bottled water,

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the FDA has set the maximum inorganic arsenic level at 10 ppb and the EPA has set a 10 ppb cap

on drinking water, as have the European Union (EU) and WHO. See id. The FDA has only set

one final standard to date, which is a 100 ppb limit for inorganic arsenic for infant rice cereal. See

id. at 37.

          23.    According to the Congressional Report, Defendant did not provide inorganic

arsenic results for all of the ingredients it uses but conventional rice flour results showed Defendant

routinely used such flour containing over 90 ppb inorganic arsenic, with many batches that had 98

ppb. See id. at 19.

          Lead

          24.    The Congressional Report noted that lead is number two on ATSDR’s list of

substances that pose the most serious threat to human health. See id. at 11. Even small amounts

of exposure are dangerous, especially for children, and can cause behavioral issues, decreased

cognitive performance, delayed puberty, and reduced postnatal growth. See id. Early childhood

lead exposure negatively affects school performance and test scores. See id. These effects can be

permanent. See id.

          25.    As the Congressional Report states, “There is a growing consensus among health

experts that lead levels in baby foods should not exceed 1 ppb.” Id. at 21. In other products, the

FDA set a 5 ppb lead standard for bottled water; the WHO set a 10 ppb provisional guideline for

drinking water; the EPA set an action level of 15 ppb in drinking water; the FDA set standards for

juice at 50 ppb and candy at 100 ppb; and the EU set a maximum level of 20 ppb in infant formula.

See id.

          26.    According to the Congressional Report, Defendant’s “results for its sweet potatoes

and juices demonstrated its willingness to use ingredients that contained dangerous lead levels.”

Id. at 27. In fact, “Gerber used an ingredient, conventional sweet potatoes, with 48 ppb lead.

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Gerber also used twelve other batches of sweet potatoes that tested over 20 ppb for lead, the EU’s

lenient upper standard.” Id. Moreover, “[t]he average amount of lead in Gerber’s tested juice

concentrates was 11.2 ppb – more than FDA’s limit for lead in bottled water. Over 83% of the

juice concentrates tested showed greater than 1 ppb lead, which is Consumer Reports’

recommended limit for fruit juices.” Id.

       Cadmium

       27.     The Congressional Report states that cadmium is seventh on ATSDR’s list of

substances in the environment that pose the most serious threat to human health. See id. at 12.

Cadmium has been associated with decreases in IQ and ADHD. See id.

       28.     Outside of baby foods, the EPA has a 5 ppb limit for drinking water; the FDA has

a 5 ppb limit for bottled water; and the WHO has a 3 ppb limit for drinking water. See id. at 29.

Healthy Babies Bright Futures contends there should be no measurable cadmium in baby food and

Consumer Reports’ position is there should be a limit of 1 ppb cadmium in fruit juices. See id.

The EU set a limit from 5-20 ppb cadmium for infant formula. See id.

       29.     The Congressional Report stated that while Gerber does not test all of its ingredients

for cadmium, of the ingredients it does test “it accepts ingredients with high levels of cadmium.

Gerber used multiple batches of carrots containing as much as 87 ppb cadmium, and 75% of the

carrots Gerber used had more than 5 ppb cadmium – the EPA’s drinking water standard.” Id. at

32.

       Mercury

       30.     According to the Congressional Report, Mercury is third on the ATSDR’s list of

substances in the environment that pose the most serious threat to human health. See id. at 12.

Studies have shown that higher blood mercury levels in children 2 to 3 years old were associated

with autistic behaviors among preschool age children. See id. at 12-13.

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       31.     Outside of the baby food context, the EPA limits mercury in drinking water to 2

ppb. See id. at 32. Healthy Babies Bright Futures contends there should be no measurable mercury

in baby food. See id.

       32.     The Congressional Report stated, “Gerber barely tests for mercury.” Id. at 33. In

fact, “Gerber only tests certain ingredients for mercury. Of the test results they presented to the

Subcommittee, they only tested carrots, sweet potatoes, and lemon juice concentrate.” Id.

       33.     The Congressional Report concluded that, among other companies, Gerber showed

a “reckless disregard for the health of babies.” Id. at 43. For example, the fact that Gerber has a

policy to regularly only test ingredients and only periodically test finished goods, this “policy

recklessly endangers babies and children and prevents the companies from even knowing the full

extent of the danger presented by their products.” Id. at 56-57. The Congressional Report

explained that Gerber used rice flour with over 90 ppb inorganic arsenic and because rice and rice

flour constitute a large proportion by volume of the baby foods that contain such ingredients,

“increased toxic heavy meatal levels in rice and rice flour could have a significant impact on the

safety of the finished product.” Id. at 58.

       34.     Baby foods containing dangerous levels of toxic Heavy Metals bear no label or

warning to parents. But the Congressional Report makes clear that this is unacceptable and

deceptive. See id. at 59.

       35.     As a result of its studies of toxic Heavy Metal levels in baby food, the House

Subcommittee has recommended that parents should avoid baby foods that contain ingredients

testing high in toxic Heavy Metals, such as rice products. See id. at Findings, Paragraph 5.

       36.     Baby food manufacturers hold a special position of public trust. Consumers believe

that they would not sell products that are unsafe. Consumers also believe that the federal

government would not knowingly permit the sale of unsafe baby food.                As the House

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Subcommittee’s Report reveals, baby food manufacturers, including Defendant, have violated the

public trust. See id. at Findings, Paragraph 6.

       37.     Despite the dangerous levels of toxic and Heavy Metals that Defendant knows to

be contained in its Tainted Baby Foods, as noted above, on its website, Defendant falsely

represents to parents that it has a strong commitment to health and nutrition as well as the quality

and safety of its baby products. The iconic logo, the Gerber Baby, smiles at every consumer on

every single product, representing that Gerber baby food is safe and nutritious. This representation

is materially false and misleading given the presence of dangerous amounts of toxic Heavy Metals

in the Tainted Baby Foods. On its website, Gerber touts its “Commitment to Quality,” stating

“Good enough is never enough”: “We meet the standards of the FDA, but we don’t stop there. We

go further. We have among the strictest standards in the world. From farm to highchair, we go

through over 100 quality checks for every jar.” Moreover, Defendant touts its “Commitment to

Safety,” representing: “Our team of experts are constantly looking at new ways of growing, testing,

and making food that’s healthy for baby and the environment.” The website further states:

“Healthy for Baby” and represents: “The health and safety of your little one has been and will

always be our highest priority. We’re a leader in infant nutrition, not because we grow food that

will simply feed your little one, but because we know what nourishment your little ones needs

[sic].” Each of these statements is materially false and misleading given Defendant’s sales of its

Tainted Baby Foods.

       38.     Moreover, most of Defendant’s packaging contains further false and misleading

representations such as “Made with the goodness of” and “The goodness inside.” For example, a

package of Gerber Sweet Potato Turkey (Sitter 2nd Foods) says on the package: “Made with the

goodness of” and includes sweet potatoes, but the Congressional Report concluded that Gerber

produced test results for lead showing that its “results for its sweet potatoes … demonstrated its

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willingness to use ingredients that contained dangerous lead levels.” Congressional Report at 27.

Similarly, a package of Gerber Carrots (Sitter 2nd Foods) says on the package: “The goodness

inside:” and states that this ingredient is carrots, but the Congressional Report concluded that

Gerber produced test results for cadmium that showed “it accepts ingredients with high levels of

cadmium,” such as carrots. Id. at 32. The same language appears on the package of Gerber Sweet

Potato (Sitter 2nd Foods) regarding the contents of sweet potatoes. The Gerber pouch products

state on the package that they contain “Simply the good stuff,” such as the Apple Carrot Squash.

Rather than containing “Goodness” or “Simply the good stuff,” these products contain dangerous

levels of toxic Heavy Metals.

       39.     Based on Defendant’s decision to advertise, label, and market its Tainted Baby

Foods as healthy, nutritious, and safe for consumption, it had a duty to ensure that these and other

statements were true and not misleading, which it failed to do.

       40.     The Tainted Baby Foods are available at numerous retail and online outlets.

However, as discussed above, Defendant fails to disclose they contain or are at risk of containing

dangerous levels of Heavy Metals or other undesirable toxins or contaminants. Defendant

intentionally omitted these contaminants to induce and mislead reasonable consumers to purchase

its Tainted Baby Foods.

III.   CLASS ACTION ALLEGATIONS

       41.     Pursuant to the provisions of Rules 23(a), 23(b)(2), and 23(b)(3) of the Federal

Rules of Civil Procedure, Plaintiffs bring this class action on behalf of themselves and a nationwide

Class defined as:

       All persons who, during the applicable statute of limitation period to the
       present, purchased Defendant’s Tainted Baby Foods in the United States for
       personal/household use, and not for resale (the “Class” or “Nationwide
       Class”).



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       42.     Plaintiff McCarthy also seeks to represent a subclass (the “Pennsylvania

Subclass”), defined as follows:

       All persons who, during the applicable statute of limitation period to the
       present, purchased Defendant’s Tainted Baby Foods in Pennsylvania for
       personal/household use, and not for resale.

       43.     In addition, Plaintiff Hazely also seeks to represent a subclass (the “Florida

Subclass”), defined as follows:

       All persons who, during the applicable statute of limitation period to the
       present, purchased Defendant’s Tainted Baby Foods in Florida for
       personal/household use, and not for resale.

       44.     Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

all elements of Fed. R. Civ. P. 23(a), (b)(2)-(3) are satisfied. Plaintiffs can prove the elements of

their claims on a class-wide basis using the same evidence as would be used to prove those

elements in an individual action alleging the same claims.

       45.     Numerosity: All requirements of Fed. R. Civ. P. 23(a)(l) are satisfied. The

members of the Class are so numerous and geographically dispersed that individual joinder of all

Class members is impracticable. While Plaintiffs are informed and believe that there are thousands

of members of the Class, the precise number of Class members is unknown to Plaintiffs. Plaintiffs

believe that the identity of Class members is known or knowable by Defendant or can be discerned

through reasonable means. Class members may be identified through objective means. Class

members may be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. mail, electronic mail, Internet postings, and/or

published notice.

       46.     Commonality and Predominance: All requirements of Fed. R. Civ. P. 23(a)(2)

and 23(b)(3) are satisfied. This action involves common questions of law and fact, which

predominate over any questions affecting individual Class members, including, without limitation:

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           a.   whether Defendant engaged in the deceptive and misleading business practices

                alleged herein;

           b. whether Defendant knew or should have known that the Tainted Baby Foods

                contained dangerous levels of Heavy Metals;

           c. whether Defendant represented and continues to represent that the Tainted Baby

                Foods are healthy, nutritious, made from the best ingredients, and safe for

                consumption;

           d. whether Defendant represented and continues to represent that the

                manufacturing of its Tainted Baby Foods is subjected to rigorous quality

                standards;

           e. whether Defendant failed to disclose that the Tainted Baby Foods contained

                dangerous levels of Heavy Metals;

           f. whether Defendant had knowledge that those representations were false,

                deceptive, and misleading and was unjustly enriched by its actions;

           g. whether Defendant continues to disseminate those representations despite

                knowledge that the representations are false, deceptive, and misleading;

           h. whether the misrepresented and/or omitted facts are material to a reasonable

                consumer;

           i. whether Defendant violated the Pennsylvania Unfair Trade Practices and

                Consumer Protection Law, 73 PS § 201 et seq.;

           j. whether Defendant violated Florida’s Deceptive and Unfair Trade Practices

                Act;

           k. whether Plaintiffs and members of the Class were injured and suffered

                damages;

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                l. whether Defendant’s misconduct proximately caused Plaintiffs’ and the Class

                    members’ injuries; and

                m. whether Plaintiffs and members of the Class are entitled to damages and, if so,

                    the measure of such damages.

        47.     Typicality: All requirements of Fed. R. Civ. P. 23(a)(3) are satisfied. Plaintiffs are

members of the Nationwide Class and Pennsylvania or Florida Subclasses, having purchased for

personal/household use Tainted Baby Food products that were manufactured by Defendant.

Plaintiffs’ claims are typical of the other Class members’ claims because, among other things, all

Class members were comparably injured through Defendant’s conduct.

        48.     Adequacy of Representation: All requirements of Fed. R. Civ. P. 23(a)(4) are

satisfied.    Plaintiffs are adequate Class representatives because they are members of the

Nationwide Class and Pennsylvania or Florida Subclasses and their interests do not conflict with

the interests of the other members of the Class that they seek to represent. Plaintiffs are committed

to pursuing this matter for the Class with the Class’s collective best interests in mind. Plaintiffs

have retained counsel competent and experienced in complex class action litigation of this type

and Plaintiffs intend to prosecute this action vigorously. Plaintiffs, and their counsel, will fairly

and adequately protect the Class’s interests.

        49.     Predominance and Superiority: All requirements of Fed. R. Civ. P. 23(b)(3) are

satisfied. As described above, common issues of law or fact predominate over individual issues.

Resolution of those common issues in Plaintiffs’ individual cases will also resolve them for the

Class’s claims. In addition, a class action is superior to any other available means for the fair and

efficient adjudication of this controversy and no unusual difficulties are likely to be encountered

in the management of this class action. The damages or other financial detriment suffered by

Plaintiffs and the other Class members are relatively small compared to the burden and expense

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that would be required to individually litigate their claims against Defendant, so it would be

impracticable for members of the Class to individually seek redress for Defendant’s wrongful

conduct. Even if Class members could afford individual litigation, the court system could not.

Individualized litigation creates a potential for inconsistent or contradictory judgments and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of single adjudication,

economies of scale, and comprehensive supervision by a single court.

       50.      Cohesiveness: All requirements of Fed. R. Civ. P. 23(b)(2) are satisfied. Defendant

has acted, or refused to act, on grounds generally applicable to the Class making final declaratory

or injunctive relief appropriate.



IV.    CAUSES OF ACTION

                                          COUNT I
      Violations of Pennsylvania Unfair Trade Practices and Consumer Protection Law
                                      73 PS § 201 et seq.
              (On Behalf of Plaintiff McCarthy and the Pennsylvania Subclass)

       51.       Plaintiff McCarthy, individually and on behalf of the Pennsylvania Subclass,

repeats and re-alleges the allegations contained in paragraphs 1 through 50 as though fully set

forth herein.

       52.       Gerber, Plaintiff McCarthy and the Pennsylvania Subclass are “[p]erson[s]”

within the meaning of the Pennsylvania Unfair Trade Practices and Consumer Protection Law

(the “UTPCPL”) 73 PS § 201-2, et seq.

       53.       The Pennsylvania UTPCPL declares unlawful “unfair methods of competition

and unfair or deceptive acts or practices in the conduct of any trade or commerce ….”

       54.       The UTPCPL at 73 P.S. § 201-2 prohibits the following conduct: “(vii)



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Representing that goods or services are of a particular standard, quality or grade, or that goods

are of a particular style or model, if they are of another.”

       55.       Defendant engaged in, and continues to engage in, the above-referenced

deceptive acts and unfair trade practices in the conduct of business, trade, and commerce,

including by misrepresenting and omitting material facts regarding its Tainted Baby Foods.

Defendant’s Tainted Baby Foods contain unhealthy and dangerous levels of Heavy Metals.

Defendant knew or should have known that its Tainted Baby Foods should not contain these levels

of Heavy Metals and/or at the amounts found therein and that by manufacturing and providing

for commercial sale baby food with toxic levels of Heavy Metals, Plaintiff McCarthy and the

Pennsylvania Subclass members were not getting healthy and/or nutritious food to help their

children grow strong.

       56.       Plaintiff McCarthy relied on Defendant’s deceptive acts, unfair trade practices,

material misrepresentations and omissions, which are described above. Plaintiff McCarthy has

suffered injury in fact and lost money as a result of Defendant’s unlawful, unfair, and fraudulent

practices.

       57.       Defendant’s wrongful conduct caused Plaintiff McCarthy and the Pennsylvania

Subclass to suffer an ascertainable loss by causing them to incur substantial expense in purchasing

the Tainted Baby Foods which they reasonably believed were safe and nutritious for their babies

when these products contained dangerous levels of toxic Heavy Metals. Plaintiff McCarthy and

the Pennsylvania Subclass have suffered an ascertainable loss by receiving less than what was

promised.

       58.       Plaintiff McCarthy and the Pennsylvania Subclass members would not have

purchased the Tainted Baby Foods at issue for their children had they known the truth about the

presence of dangerous levels of toxic Heavy Metals. There is no other use for Defendant’s tainted

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products.

       59.        Defendant’s actions described herein constitute fraud within the meaning of the

UTPCPL § 201 et seq. by using dangerous levels of toxic Heavy Metals and failing to properly

represent, both by affirmative conduct and by omission, the nutritional value and safety of

Defendant’s Tainted Baby Foods. Defendant’s actions were likely to mislead Plaintiff McCarthy

and the Pennsylvania Subclass into believing the products were safe, healthy and nutritious when

they in fact contained dangerous levels of toxic Heavy Metals.

       60.        If Defendant had not sold baby food tainted with dangerous levels of Heavy

Metals, Plaintiff McCarthy and the other Pennsylvania Subclass members would not have

suffered the extent of damages caused by Defendant’s sales.

       61.        Defendant’s violations present a continuing risk to Plaintiff McCarthy and the

Pennsylvania Subclass, as well as to the general public. Defendant’s unlawful acts and practices

complained of herein affect the public interest and are highly likely to deceive a substantial

portion of the consuming public.

       62.        As a direct and proximate result of Defendant’s business practices, Plaintiff

McCarthy and the Pennsylvania Subclass members suffered injury in fact and lost money or

property because they purchased and paid for products they otherwise would not have. Plaintiff

McCarthy and the Pennsylvania Subclass members are entitled to injunctive relief and attorneys’

fees and costs.

       63.        Pursuant to Pennsylvania UTPCPL § 201-4.1, Plaintiff McCarthy and the

Pennsylvania Subclass members seek an order of this Court requiring Defendant to disgorge all

ill-gotten gains and awarding Plaintiff McCarthy and the Pennsylvania Subclass members full

restitution of all monies wrongfully acquired by it by means of such “unlawful” and “unfair”

conduct, so as to restore any and all monies to Plaintiff McCarthy and the Pennsylvania Subclass

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members which were acquired and obtained by such “unlawful” and “unfair” conduct, and which

ill-gotten gains are still retained by Defendant.

         64.     Plaintiff McCarthy and the Pennsylvania Subclass members are entitled to treble

actual damages of not less than $100, plus reasonable attorneys’ fees and costs. 73 P. S. § 201-

9.2.

                                           COUNT II
       Violations of Florida’s Deceptive and Unfair Trade Practices Act § 501.201 et seq.
                    (On Behalf of Plaintiff Hazely and the Florida Subclass)

         65.     Plaintiff Hazely, individually and on behalf of the Florida Subclass, repeats and

re-alleges the allegations contained in paragraphs 1 through 50 as though fully set forth herein.

         66.     Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”) prohibits

“[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts

or practices in the conduct of any trade or commerce.” Florida Stat. § 501.204(1). Defendant

participated in unfair, unconscionable and deceptive trade practices that violated FDUTPA as

described herein.

         67.     Plaintiff Hazely, individually, and the members of the Florida Subclass are

“consumers” within the meaning of Florida Stat. § 501.203(7).

         68.     Defendant engaged in “trade or commerce” within the meaning of Florida Stat.

§ 501.203(8).

         69.     Defendant’s Tainted Baby Foods contain unhealthy and dangerous levels of

Heavy Metals. Defendant knew or should have known that its baby food should not contain these

dangerous levels of Heavy Metals and that by manufacturing and providing for commercial sale

baby food with toxic levels of Heavy Metals, Plaintiff Hazely and the Florida Subclass members

were not getting healthy and/or nutritious food to help their children grow strong.

         70.     Plaintiff Hazely and the Florida Subclass members would not have purchased the

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baby food at issue for their children had they known the truth about the presence of toxic Heavy

Metals. There is no other use for Defendant’s tainted products.

       71.       Defendant violated the FDUPTA by, among other things, using dangerous levels

of toxic Heavy Metals and failing to properly represent, both by affirmative conduct and by

omission, the nutritional value and safety of Defendant’s baby foods.

       72.       If Defendant had not sold baby food tainted with dangerous levels of Heavy

Metals, Plaintiff Hazely and the other Florida Subclass members would not have suffered the

extent of damages caused by Defendant’s sales.

       73.       Defendant’s practices, acts, policies and course of conduct violate FDUPTA in

that Defendant used dangerous levels of toxic Heavy Metals in its Tainted Baby Foods and

actively and knowingly misrepresented or omitted disclosure of material information to Plaintiff

Hazely and the Florida Subclass members at the time they purchased the Tainted Baby Foods,

including the fact that Defendant’s products contained dangerous levels of toxic Heavy Metals.

Defendant also failed to disclose and give timely warnings or notices regarding the presence of

dangerous levels of toxic Heavy Metals in its baby food products that were purchased by Plaintiff

Hazely and the Florida Subclass members.

       74.       The aforementioned conduct constitutes an unconscionable commercial practice

in that Defendant has, by engaging in the use of dangerous levels of toxic Heavy Metals and the

use of false statements and/or material omissions, failed to properly represent and/or concealed

the presence of unacceptable dangerous levels of Heavy Metals in its Tainted Baby Foods.

       75.       Members of the public, including Plaintiff Hazely and the members of the Florida

Subclass, were deceived by and relied upon Defendant’s actions, affirmative misrepresentations

and failures to disclose.

       76.       Such acts and practices by Defendant are and were likely to mislead a reasonable

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consumer purchasing baby food from Defendant. Said acts and practices are material. The sales of

Defendant’s Tainted Baby Foods in Florida through such means occurring in Florida were

consumer-oriented acts and thereby fall under the FDUTPA.

          77.   As a direct and proximate cause of Defendant’s conduct, Plaintiff Hazely and the

Florida Subclass members suffered damages as alleged above.

          78.   Defendant’s conduct described above also amounts to unfair business practices,

which are immoral, unethical, oppressive and unscrupulous.

          79.   As a result of Defendant’s conduct alleged herein, Plaintiff Hazely individually

and the members of the Florida Subclass have suffered actual damages in that they have paid

excessive and artificially prices for Defendant’s Tainted Baby Food as a result of Defendant’s

unlawful, unfair, and deceptive practices and are entitled to damages.

          80.   As a result of the aforementioned conduct, Plaintiff Hazely individually, and

the members of the Florida Subclass, are entitled to permanent injunctive relief to prevent

Defendant from continuing to engage in these unfair and deceptive trade practices.

          81.   Pursuant to Florida Statute § 501.2105, Plaintiff Hazely, individually, and as a

member of the Florida Subclass, is entitled to recover costs and reasonable attorneys’ fees in this

action.

                                         COUNT III
                                     Unjust Enrichment
                    (On Behalf of All Plaintiffs and the Nationwide Class)

          82.   Plaintiffs, individually and on behalf of the Class, repeat and re-allege the

allegations contained in paragraphs 1 through 50 as though fully set forth herein.

          83.   Plaintiffs and Class members conferred a monetary benefit on Defendant.

Specifically, they purchased baby food from Defendant and provided Defendant with their

monetary payment. In exchange, Plaintiffs and Class members should have received from

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Defendant goods and services that were healthy and nutritious and not tainted with dangerous

levels of Heavy Metals.

         84.     Defendant knew that Plaintiffs and Class members conferred a benefit on them

and accepted or retained that benefit. Defendant profited from Plaintiffs’ purchases and used

Plaintiffs and Class members’ monetary payments for business purposes.

         85.     Defendant failed to disclose to Plaintiffs and Class members that its Tainted Baby

Foods were unhealthy and contained dangerous levels of Heavy Metals and did not provide

product that Plaintiffs and Class members were promised.

         86.     If Plaintiffs and Class members knew that Defendant’s Tainted Baby Foods were

unhealthy and toxic as alleged herein, they would not have purchased Defendant’s Tainted Baby

Foods.

         87.     Plaintiffs and Class members have no adequate remedy at law.

         88.     Under the circumstances, it would be unjust for Defendant to be permitted to

retain any of the benefits that Plaintiffs and Class members conferred on them.

         89.     Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiffs and Class members, proceeds that they unjustly received from

them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiffs and

Class members overpaid.

VI.      REQUEST FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of the Class, respectfully request that

the Court:

         a)     Certify the Nationwide Class, including the Pennsylvania and Florida Subclasses,

                and appoint Plaintiffs and their counsel to represent the Nationwide Class and

                Pennsylvania and Florida Subclasses;

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      b)     Find that Defendant engaged in the unlawful conduct as alleged herein and enjoin

             Defendant from engaging in such conduct;

      c)     Enter a monetary judgment in favor of Plaintiffs and the Class, including the

             Pennsylvania and Florida Subclasses, to compensate them for the injuries suffered,

             together with pre-judgment and post-judgment interest, punitive damages, and

             penalties where appropriate;

      d)     Require Defendant to rectify all damages caused by its misconduct;

      e)     Award Plaintiffs and the Class, including the Pennsylvania and Florida Subclasses,

             reasonable attorneys’ fees and costs of suit, as allowed by law; and

      f)     Award such other and further relief as this Court may deem just and proper.

                                JURY TRIAL DEMANDED

      Plaintiffs hereby demand a trial by jury.

Dated: February 16, 2021                               Respectfully submitted,

                                                       /s/ David J. George

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